Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 1 of 11 PageID #: 1



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
—————————————————————————X
THE ANNUITY, WELFARE AND APPRENTICESHIP
SKILL IMPROVEMENT & SAFETY FUNDS OF THE
INTERNATIONAL UNION OF OPERATING ENGINEERS
LOCAL 15, 15A, 15C & 15D, AFL-CIO, BY THEIR                              COMPLAINT
TRUSTEES JAMES T. CALLAHAN, THOMAS A.
CALLAHAN, MICHAEL SALGO and WILLIAM TYSON,                               CV-20-01412
CENTRAL PENSION FUND OF THE INTERNATIONAL
UNION OF OPERATING ENGINEERS, BY ITS CHIEF
EXECUTIVE OFFICER MICHAEL A. CRABTREE, and
INTERNATIONAL UNION OF OPERATING ENGINEERS
LOCAL 15, 15A, 15C & 15D, AFL-CIO BY ITS PRESIDENT
& BUSINESS MANAGER THOMAS A. CALLAHAN,

                                    Plaintiffs,
              -against-

INDUSTRIAL URBAN CORP.,

               Defendant.
—————————————————————————X

       Plaintiffs THE ANNUITY, WELFARE AND APPRENTICESHIP SKILL

IMPROVEMENT & SAFETY FUNDS OF THE INTERNATIONAL UNION OF OPERATING

ENGINEERS LOCAL 15, 15A, 15C & 15D, AFL-CIO (“LOCAL 15 TRUST FUNDS”),

CENTRAL PENSION FUND OF THE INTERNATIONAL UNION OF OPERATING

ENGINEERS (“CPF”) and INTERNATIONAL UNION OF OPERATING ENGINEERS

LOCAL 15, 15A, 15C & 15D, AFL-CIO (“LOCAL 15”), by their attorneys, BRADY McGUIRE

& STEINBERG, P.C., for their Complaint, respectfully allege:

       1.     This is an action arising under the Employee Retirement Income Security Act of

1974 (“ERISA”), as amended, 29 U.S.C. § 1001 ​et seq.​ and Section 301 of the Labor

Management Relations Act of 1947 (“LMRA”), as amended, 29 U.S.C. § 185 to compel an audit
Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 2 of 11 PageID #: 2



of Defendant’s payroll records and to recover annuity, pension, welfare and skill

improvement/training contributions along with supplemental union dues and political action

committee payments owed to a labor organization based upon the breach of the terms and

conditions of a collective bargaining agreement.

                                  JURISDICTION & VENUE

       2.      The subject matter jurisdiction of this Court is invoked pursuant to Sections 502

and 515 of ERISA, 29 U.S.C. §§ 1132 and 1145, along with Section 301(c) of the LMRA, 29

U.S.C. § 185(c).

       3.      Venue is properly laid in the Eastern District of New York pursuant to Section

502(e)(2) of ERISA, 29 U.S.C. § 1132(e)(2) and Section 301(a) of the LMRA, 29 U.S.C. §

185(a), in that, Plaintiffs are administered from offices located at 44-40 11th Street, Long Island

City, County of Queens, State of New York.

                                         THE PARTIES

       4.      Plaintiffs LOCAL 15 TRUST FUNDS are joint trustee funds established by

various trust indentures pursuant to Section 302 of the LMRA, 29 U.S.C. § 186.

       5.      JAMES T. CALLAHAN, THOMAS A. CALLAHAN, MICHAEL SALGO and

WILLIAM TYSON are Trustees of Plaintiffs LOCAL 15 TRUST FUNDS and are “fiduciaries”

within the meaning of Section 3(21) of ERISA, 29 U.S.C. § 1002(21).

       6.      The LOCAL 15 ANNUITY FUND is an employee pension benefit plan within

the meaning of Section 3(2) of ERISA, as amended, 29 U.S.C. § 1002(2) and established for the

purpose of providing retirement income to eligible participants.
Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 3 of 11 PageID #: 3



       7.      The LOCAL 15 WELFARE and APPRENTICESHIP SKILL IMPROVEMENT

& SAFETY FUNDS are employee welfare benefit plans within the meaning of Section 3(1) of

ERISA, 29 U.S.C. § 1002(1) and established for the purpose of providing medical, medical

reimbursement, vacation and skill improvement/training benefits to eligible participants.

       8.      Plaintiff LOCAL 15 TRUST FUNDS constitute multi-employer/employee benefit

plans within the meaning of Sections 3(3) and 3(37) of ERISA, 29 U.S.C. §§ 1002(3) and (37).

       9.      Plaintiff CPF is a joint trustee fund established by a trust indenture pursuant to

Section 302 of the LMRA, 29 U.S.C. § 186 which maintains its principal place of business at

4115 Chesapeake Street, N.W. in Washington, DC.

       10.     MICHAEL A. CRABTREE is the Chief Executive Officer of Plaintiff CPF and is

a “fiduciary” within the meaning of Section 3(21) of ERISA, 29 U.S.C. § 1002(21).

       11.     Plaintiff CPF is an employee pension benefit plan within the meaning of Section

3(2) of ERISA, as amended, 29 U.S.C. § 1002(2) and established for the purpose of providing

retirement income to eligible participants.

       12.     Plaintiff CPF constitutes a multi-employer/employee benefit plan within the

meaning of Sections 3(3) and 3(37) of ERISA, 29 U.S.C. §§ 1002(3) and (37).

       13.     Plaintiff LOCAL 15 is a labor organization as defined in Section 2 of the LMRA,

29 U.S.C. § 152.

       14.     THOMAS A. CALLAHAN is the President & Business Manager of Plaintiff

LOCAL 15.
Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 4 of 11 PageID #: 4



       15.     Upon information and belief, Defendant INDUSTRIAL URBAN CORP.

(“INDUSTRIAL URBAN”) was and still is a New York corporation with its principal place of

business at 833 Ewing Avenue, Lyndhurst, New Jersey.

       16.     Upon information and belief, Defendant INDUSTRIAL URBAN was and still is a

foreign corporation duly licensed to do business in the State of New York.

       17.     Upon information and belief, Defendant INDUSTRIAL URBAN was and still is a

foreign corporation doing business in the State of New York.

       18.     Upon information and belief, Defendant INDUSTRIAL URBAN is an employer

within the meaning of Section 3(5) of ERISA, 29 U.S.C. § 1002(5) and Section 301 of the

LMRA, 29 U.S.C. § 185.

                              BACKGROUND INFORMATION

       19.     At all times relevant hereto, Plaintiff LOCAL 15 and Defendant INDUSTRIAL

URBAN have been parties to a collective bargaining agreement as a result of Defendant’s

membership in The Cement League and Defendant INDUSTRIAL URBAN agreed to be bound

to the terms and conditions thereof (hereafter referred to as the “Collective Bargaining

Agreement”).

       20.     Pursuant to the terms of the Collective Bargaining Agreement, Defendant

INDUSTRIAL URBAN is obligated to remit, at specified rates, annuity, pension, welfare and

skill improvement/training contributions to Plaintiffs LOCAL 15 TRUST FUNDS and Plaintiff

CPF based upon each straight and overtime hour of worked performed by those employees

covered by the Collective Bargaining Agreement.
Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 5 of 11 PageID #: 5



       21.       Pursuant to the terms of the Collective Bargaining Agreement, Defendant

INDUSTRIAL URBAN is obligated to remit, at specified rates, employee allocated

supplemental union dues and political action committee payments to Plaintiff LOCAL 15 based

upon each straight and overtime hour of work performed by those employees covered by the

Collective Bargaining Agreement.

       22.       Pursuant to the terms of the Collective Bargaining Agreement, Defendant

INDUSTRIAL URBAN is obligated to make its books and records available to the designated

representative of Plaintiffs in order to determine if the proper amount in annuity, pension,

welfare and skill improvement/training contributions along with supplemental union dues and

political action committee payments have been made to Plaintiffs as required by the Collective

Bargaining Agreement.

                    AS AND FOR A FIRST CAUSE OF ACTION
                 (AUDIT DEMAND PURSUANT TO ERISA, TRUST
             AGREEMENTS & COLLECTIVE BARGAINING AGREEMENT)

       23.       Plaintiffs repeat and reallege each and every paragraph of the Complaint

numbered 1 through 22 inclusive with the same force and effect as though more fully set forth at

length herein.

       24.       Pursuant to the terms of the Trust Agreements establishing Plaintiffs LOCAL 15

TRUST FUNDS and Plaintiff CPF, as referred to in the Collective Bargaining Agreement, along

with ERISA, Plaintiffs are entitled to an audit of the books and records of Defendant

INDUSTRIAL URBAN.

       25.       Section 209(a)(1) of ERISA, 29 U.S.C. § 1059(a)(1) together with applicable case

law provides that employers are required to maintain records so that employee benefit plans may
Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 6 of 11 PageID #: 6



review them to determine whether contributions are due and employers, such as Defendant

INDUSTRIAL URBAN, have an affirmative duty to furnish to Plaintiffs the information needed

for them to fulfill their duties.

        26.     In pertinent part, the Collective Bargaining Agreement states:

                Each Employer shall be bound by all the terms and conditions of the Agreement
                and Declaration of Trust . . . and by all by-laws adopted to regulate said Funds.

                                              -and-

                Each Employer’s books and payroll records shall be made available upon demand
                of the Trustees, for audit and inspection by a representative of the Trustees at the
                reasonable business hours.

        27.     In pertinent part, the Trust Agreements establishing each of Plaintiffs LOCAL 15

TRUST FUNDS state:

                The Trustees, or their authorized representatives, may examine the pertinent
                books and records of each Employer whenever such examination may be deemed
                necessary or advisable by the Trustees in connection with the proper
                administration of the Funds.

        28.     In pertinent part, the Trust Agreement establishing Plaintiff CPF states:

                The Trustees may, by their respective representatives, audit and examine the
                pertinent employment and payroll records of each Employer, as described above,
                at the Employer’s place of business, whenever such examination is deemed
                necessary or advisable by the Trustees in connection with the proper
                administration of the Trust Fund.

        29.     Upon information and belief, Defendant INDUSTRIAL URBAN may have

underreported the number of employees, the amount of employee hours and wages paid to its

employees and therefore the annuity, pension, welfare and skill improvement/training

contributions together with supplemental union dues and political action committee payments

due to Plaintiffs LOCAL 15 TRUST FUNDS, CPF and LOCAL 15.
Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 7 of 11 PageID #: 7



       30.       Although Plaintiffs formally requested the production of the books and records

from Defendant INDUSTRIAL URBAN in order to determine if the aforementioned annuity,

pension, welfare and skill improvement/training contributions along with supplemental union

dues and political action committee payments have been properly paid, to date, said Defendant

has refused to produce the documents and schedule an audit. As a result thereof, Plaintiffs

demand an audit of the books and records of Defendant INDUSTRIAL URBAN for the period of

July 1, 2015 through June 30, 2019.

                      AS AND FOR A SECOND CAUSE OF ACTION
                 (BREACH OF COLLECTIVE BARGAINING AGREEMENT​)

       31.       Plaintiffs repeat and reallege each and every paragraph of the Complaint

numbered 1 through 30 inclusive with the same force and effect as though more fully set forth at

length herein.

       32.       Upon information and belief, Defendant INDUSTRIAL URBAN has failed to

provide the contractually required (a) annuity, pension, welfare and skill improvement/training

contributions; (b) supplemental union dues; and (c) political action committee payments for the

period of July 1, 2015 through June 30, 2019 in the approximate amount of $100,000.00.

       33.       Upon information and belief, Defendant INDUSTRIAL URBAN has failed to pay

any portion of the outstanding amount owed in annuity, pension, welfare and skill

improvement/training contributions to Plaintiffs LOCAL 15 TRUST FUNDS and Plaintiff CPF

with the final amount owed to be confirmed after the completion of the audit requested in the

First Cause of Action.

       34.       Upon information and belief, Defendant INDUSTRIAL URBAN has failed to pay

any portion of the outstanding amount owed in supplemental union dues and political action
Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 8 of 11 PageID #: 8



committee payments to Plaintiff LOCAL 15 with the final amount owed to be confirmed after

the completion of the audit requested in the First Cause of Action.

       35.       Accordingly, as a direct and proximate result of the defaults, omissions and

breaches of the Collective Bargaining Agreement by Defendant INDUSTRIAL URBAN, said

Defendant is liable to Plaintiffs LOCAL 15 TRUST FUNDS, CPF and LOCAL 15, collectively,

in the approximate amount of $100,000.00 with the final amount owed to be confirmed after the

completion of the audit requested in the First Cause of Action.

                         AS AND FOR A THIRD CAUSE OF ACTION
                           (BREACH OF ERISA OBLIGATIONS)

       36.       Plaintiffs repeat and reallege each and every paragraph of the Complaint

numbered 1 through 35 inclusive with the same force and effect as though more fully set forth at

length herein.

       37.       Upon information and belief, the failure of Defendant INDUSTRIAL URBAN to

remit the required annuity, pension, welfare and skill improvement/training contributions to

Plaintiffs LOCAL 15 TRUST FUNDS and Plaintiff CPF for the period of July 1, 2015 through

June 30, 2019 in the approximate amount of $100,000.00 is a violation of Section 515 of ERISA,

29 U.S.C. § 1145, which requires that employers pay fringe benefit contributions in accordance

with the terms and conditions of the applicable collective bargaining agreement.

       38.       Upon information and belief, Defendant INDUSTRIAL URBAN remains

delinquent in remitting the proper amount owed in annuity, pension, welfare and skill

improvement/training contributions to Plaintiffs LOCAL 15 TRUST FUNDS and Plaintiff CPF

with the final amount owed to be confirmed after the completion of the audit requested in the

First Cause of Action.
Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 9 of 11 PageID #: 9



       39.     Section 502 of ERISA, 29 U.S.C. § 1132 provides that upon a finding of an

employer’s violation of Section 515 of ERISA, 29 U.S.C. § 1145, the Court shall award to the

Plaintiff Trust Funds: (a) the amount owed in unpaid fringe benefit contributions; together with

(b) interest on the unpaid contributions computed at the rate provided for under the Plaintiff

Trust Fund’s Plan, or if none, at the rate set forth in the United States Internal Revenue Code at

26 U.S.C. § 6621; (c) liquidated damages; (d) reasonable attorneys’ fees; (e) auditors’ fees; and

(f) the costs and disbursements of the action.

       40.     Accordingly, as a direct and proximate result of the breach of the Collective

Bargaining Agreement by Defendant INDUSTRIAL URBAN and as a result thereof having

violated Section 515 of ERISA, 29 U.S.C. § 1145, said Defendant is liable to Plaintiffs LOCAL

15 TRUST FUNDS and Plaintiff CPF in the amount of approximately $100,000.00 (with the

final amount owed to be confirmed after the completion of the audit requested in the First Cause

of Action), together with accumulated interest on the unpaid fringe benefit contributions,

liquidated damages, reasonable attorneys’ fees, auditors’ fees, along with the costs and

disbursements incurred in this action, all pursuant to Section 502 of ERISA, 29 U.S.C. § 1132.

       WHEREFORE​, Plaintiffs THE ANNUITY, WELFARE AND APPRENTICESHIP

SKILL IMPROVEMENT & SAFETY FUNDS OF THE INTERNATIONAL UNION OF

OPERATING ENGINEERS LOCAL 15, 15A, 15C & 15D, AFL-CIO, CENTRAL PENSION

FUND OF THE INTERNATIONAL UNION OF OPERATING ENGINEERS and

INTERNATIONAL UNION OF OPERATING ENGINEERS LOCAL 15, 15A, 15C & 15D,

AFL-CIO demand judgment on the First Cause of Action in the form of an Order requiring

Defendant INDUSTRIAL URBAN CORP. to submit its books and records to the designated
Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 10 of 11 PageID #: 10



 representative of Plaintiffs for an audit in accordance with the applicable provisions of ERISA,

 the Trust Agreements establishing Plaintiffs LOCAL 15 TRUST FUNDS & CPF, and the

 Collective Bargaining Agreement for the period of July 1, 2015 through June 30, 2019.

         WHEREFORE​, Plaintiffs THE ANNUITY, WELFARE AND APPRENTICESHIP

 SKILL IMPROVEMENT & SAFETY FUNDS OF THE INTERNATIONAL UNION OF

 OPERATING ENGINEERS LOCAL 15, 15A, 15C & 15D, AFL-CIO, CENTRAL PENSION

 FUND OF THE INTERNATIONAL UNION OF OPERATING ENGINEERS and

 INTERNATIONAL UNION OF OPERATING ENGINEERS LOCAL 15, 15A, 15C & 15D,

 AFL-CIO demand judgment on the Second Cause of Action of Defendant INDUSTRIAL

 URBAN CORP. in the amount of annuity, pension, welfare and skill improvement/training

 contributions with interest, along with supplemental union dues and political action committee

 payments determined to be due and owing pursuant to the report issued subsequent to the

 completion of the audit demanded in the First Cause of Action.

         WHEREFORE​, Plaintiffs THE ANNUITY, WELFARE AND APPRENTICESHIP

 SKILL IMPROVEMENT & SAFETY FUNDS OF THE INTERNATIONAL UNION OF

 OPERATING ENGINEERS LOCAL 15, 15A, 15C & 15D, AFL-CIO and CENTRAL

 PENSION FUND OF THE INTERNATIONAL UNION OF OPERATING ENGINEERS

 demand judgment on the Third Cause of Action of Defendant INDUSTRIAL URBAN CORP. in

 the amount of contributions with interest determined to be due and owing pursuant to the report

 issued subsequent to the completion of the audit demanded in the First Cause of Action, together

 with:

         1. Prejudgment interest, computed at the plan rate or the applicable United States
            Treasury rate from the date on which the first payment was due on the total amount
Case 1:20-cv-01412-RPK-RER Document 1 Filed 03/17/20 Page 11 of 11 PageID #: 11



          owed by the Defendant, in accordance with Section 502(g)(2)(B) of ERISA, 29
          U.S.C. § 1132(g)(2)(B);

       2. Liquidated damages in accordance with Section 502(g)(2)(C) of ERISA, 29 U.S.C. §
          1132(g)(2)(C);

       3. Attorneys’ fees, auditor’s fees, and the costs and disbursements of this action in
          accordance with Section 502(g)(2)(D) of ERISA, 29 U.S.C. § 1132(g)(2)(D); and

       4. Such other and further relief as the Court may deem just and proper in accordance
          with Section 502(g)(2)(E) of ERISA, 29 U.S.C. § 1132(g)(2)(E).

 Dated: Tarrytown, New York
        March 17, 2020

                                            Respectfully submitted,

                                            BRADY McGUIRE & STEINBERG, P.C.

                                    By:     /s/ James M. Steinberg
                                            __________________________________
                                            James M. Steinberg, Esq.
                                            Attorneys for Plaintiffs
                                            303 South Broadway, Suite 234
                                            Tarrytown, New York 10591
                                            (914) 478-4293
                                            james@bradymcguiresteinberg.com
